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                                                       U.S. Department of Justice
                                                       United States Marshals Service
                                                       75 Ted Turner Drive S. W Suite 1600
                                                       Atlanta, GA 30303


Thomas Brown                                           June 25, 2025
US. Marshal
                                                                        FILED IN CLERK'S OFFICE
                                                                            U.S.0.C. • Atlanta


                                                                          JUN 2 6 2025
Mr. ELCHONON SCHWARTZ
Case# 1 :2024-CR-00371
USMS# 49859-511

Dear MR. SCHWARTZ:

Pursuant to the sentence you received in federal court in the Northern
District of Georgia, you are hereby directed to report to the following
institution to begin service of your federal sentence.

                          INSTITUTION:
                          OTISVILLE SATELLITE CAMP
                          TWO MILE DRIVE
                          OTISVILLE, NY 10963

                   TELEPHONE NO.: (845) 386-6700

                   REPORT DATE:        NOON, July 23, 2025

Any further inquiries should be directed to the institution at the telephone
number listed above.

                                       Respectfully,

                                       THOMAS BROWN
                                       United States Marshal



                                       Natalie Head Carter
                                       Criminal Section
